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FILE
UNITED STATES DISTRICT COURT L E D

WESTERN DISTRICT OF TEXAS SEP 1 7 2019
AUSTIN DIVISION (CLERK, U.s
By STERN S DistS Rect CourT

Noh 9CR 213 pF e

INDICTMENT

Om

UNITED STATES OF AMERICA,

Vv.

BRANDI a

[Counts One and Two: Felon in
Possession of a Firearm, 18 U.S.C.
§ 922(g); Counts Three and Four: Felon
in Possession of Ammunition, 18 U.S.C.
§ 922(g); Count Five: Possession of Stolen
Firearms, 18 U.S.C. § 922(j); Count Six:
Possession of Unregistered Firearm, 26

- US.C. § 5861(d).

(0 C09 C03 (02 60) C0) 679 C03 A) COD A CI

THE GRAND JURY CHARGES:

COUNT ONE
[18 US.C. § 922(8)(1)]

On or about June 15, 2018, in the Westem District of Texas, defendant,
ae
knowing had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed the following firearms, to wit:
1. Ruger, Model SR40, .40 caliber pistol, Obliterated Serial Number;
2. Sig-Sauer, Model P238, .380 caliber pistol, Serial Number 274139929;
3. Glock, Model 42, .380 caliber pistol, Serial Number AASV648;
4, Remington, Model 700, .270 caliber rifle, Serial Number $6587950;
5. Savage, 820B, 12-gauge shotgun, No Serial Number; -
all of which had traveled in and affected interstate and foreign commerce, in violation of 18 U.S.C.

§ 922(g)(1).

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COUNT TWO
[18 U.S.C. § 922(g)(1)]

- On or about June 15, 2018, in the Western District of Texas, defendant,
BRANDI CAMPBELL,

knowing she had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed the following firearms, to wit:

1. Ruger, Model SR40, .40 caliber pistol, Obliterated Serial Number;

2. Sig-Sauer, Model P238, .380 caliber pistol, Serial Number 274139929;

3. Glock, Model 42, .380 caliber pistol, Serial Number AAS V648;

4, Remington, Model 700, .270 caliber rifle, Serial Number $6587950;

5. Savage, Model 820B, 12-gauge shotgun, No Serial Number;
all of which had traveled in and affected interstate and foreign commerce, in violation of 18 U.S.C.
§ 922(g)(1).

COUNT THREE
[18 U.S.C. § 922(g)]

On or about June 15, 2018, in the Western District of Texas, defendant,
knowing fil had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed the following ammunition, described by manufacturer,
caliber, and quantity:

HORNADY 12-gauge

1. 3
2. MONARCH 12-gauge 4
3. AGUILA - ' 12-gauge 20
4, WINCHESTER 40 21
5. FEDERAL 38 SPL+ P 7
6. WINCHESTER 38 SPL+P 1
7, FEDERAL 38 SPL+ P 15
8. WINCHESTER 38 SPL+ P 5

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9. FIOCCHI 380 34
10. JAGEMANN 380 6
11,HORNADY | 270 14
12, HORNADY 270 5
13. FIOCCHI 380 3
14, JAGEMANN 380 3
15, WINCHESTER 40 6
16. HORNADY 40 10
17, FEDERAL 380 2
18, SELLIER & BELLOT 380 2
19. CBC 380 1
20. REMINGTON 380 1
21. PPU 380 3
22, FEDERAL 38 SPL+ P 6
23. JAGEMANN 380 4
24, HORNADY 380 3

25, FIOCCHI 380 9
.26, MONARCH 12-gauge 5
27. PPU 380 2
28. WINCHESTER 380 8
29. FEDERAL 380 3
30. CBC 380 2
31, PERFECTA 380 1
32.8 &B 380 5
33.RWS — 380 1
34. PMC 380 4
35. REMINGTON - 380 2
36. GEL 380 1
37. BLAZER 380 1
38. DRT 380 - 4d

all of which had traveled in and affected interstate and foreign commerce, in violation of 18 U.S.C.

-§ 922(g)(1).

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COUNT FOUR
[18 U.S.C. § 922(g)]

On or about June 15, 2018, in the Western District of Texas, defendant,
BRANDI CAMPBELL,
knowing she had previously been convicted of a crime punishable by imprisonment for a term
exceeding one year, knowingly possessed the following ammunition, described by manufacturer,
caliber, and quantity:

HORNADY 12-pauge

l. 3
2. MONARCH 12-pauge 4
3. AGUILA 12-gauge 20
4, WINCHESTER 40 21
5. FEDERAL 38 SPL+P 7
6. WINCHESTER 38 SPL+P 1
7, FEDERAL 38 SPL+ P 15
8. WINCHESTER — 38 SPL+P 5
9, FIOCCHI 380 34
10. JAGEMANN 380 6
11. HORNADY 270 14
12. HORNADY 270 5
13. FIOCCHI . 380 3
14. JAGEMANN 380 3
15. WINCHESTER 40 6
16. HORNADY 40 10
17. FEDERAL 380 2
18. SELLIER & BELLOT 380 2
19. CBC 380 1
20. REMINGTON . 380 1
21. PPU - 380 3
22. FEDERAL 38 SPL+P 6
23. JAGEMANN 380 4
24. HORNADY 380 3
25. FIOCCHI 380 9
26. MONARCH 12-gauge 5
27.PPU © 380 2
28. WINCHESTER 380 8
29, FEDERAL 380 3
30. CBC 380 2
31. PERFECTA 380 1
32.S&B 380 5
33. RWS 380 1

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34. PMC 380

4
35. REMINGTON 380 2
36. GFL 380 1
37. BLAZER 380 1
38. DRT 380 1

all of which had traveled in and affected interstate and foreign commerce, in violation of 18
USS.C. § 922(g)(1).

COUNT FIVE
[18 U.S.C. § 922(j)]

On or about June 15, 2018, in the Western District of Texas, defendants,
ee
a
BRANDI CAMPBELL,

knowingly possessed and stored stolen firearms, to wit:

1. Remington, Model 700, .270 caliber rifle, Serial Number 565 87950;

2. Savage, Model 820B, 12-gauge shotgun, No Serial Number;
all of which had been shipped and transported in interstate and foreign commerce, before or after

being stolen, and the defendants knew and had reasonable cause to believe that the firearms were

stolen, all in violation of 18 U.S.C. § 922().

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COUNT SIX
[26 U.S.C. § 5861(d)]

- On or about June 15, 2018, in the Western District of Texas, defendant,
ae
knowingly possessed a firearm, to wit: Savage, Model 820B, 12-gauge shotgun, No Serial
Number, which had a barrel of less than 18 inches in length and the defendant knew the shotgun
had a barrel of less than 18 inches in length. The firearm was in operating condition and was not
registered to the defendant in the National Firearms Registration and Transfer Record, in violation
of 26 U.S.C. § 5861(d).

NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE

As aresult of the foregoing criminal violation, the United States give notices that it intends
to forfeit, but is not limited to, the below-described property from Defendants Re.
Brandi Campbell. Defendants shall forfeit all right, title and interest in the below-described
property to the United States pursuant to FED. R. CRIM. P, 32.2 and 18 U.S.C. § 924(4)(1), as made |
applicable to criminal forfeiture by 28 U.S.C. § 2461(c). Section 924 specifically provides, in
pertinent part, the following:

Title 18 U.S.C. § 924.
(d)(1) Any firearm or ammunition involved in or used in any knowing violation
of .. . section 922, or . . . knowing violation of section 924, . . . shall be subject to
seizure and forfeiture. ...

This Notice of Demand for Forfeiture includes, but is not limited to, the following firearms:
1. Ruger, Model SR40, .40 caliber pistol, Obliterated Serial Number;

2. Sie-Sauer, Model P238, .380 caliber pistol, Serial Number 27A 139929;

3. Glock, Model 42, .380 caliber pistol, Serial Number AASV648;

4. Remington, Model 700, .270 caliber rifle, Serial Number §$6587950; and

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5. Savage, Model 820B, 12-gauge shotgun, No Serial Number.

This Notice of Demand for Forfeiture also includes, but is not limited to, the following

ammunition:
1. HORNADY: 12-gauge 3
2. MONARCH 12-gauge 4
3. AGUILA 12-gauge 20
4, WINCHESTER 40 21
5. FEDERAL 38 SPL+P 7
6. WINCHESTER 38 SPL+P 1
7. FEDERAL 38 SPL+P 15
*8. WINCHESTER 38 SPL+ P 5
9. FIOCCHI — 380 34
10. JAGEMANN 380 6
11. HORNADY 270 14
12. HORNADY 270 | 5
13. FIOCCHI 380 3
14. JAGEMANN 380 3
15. WINCHESTER — 40 6
16. HORNADY 40 10
17. FEDERAL 380 2
18. SELLIER & BELLOT 380 2
19. CBC 380 1
20. REMINGTON 380 1
21. PPU 380 3
22. FEDERAL 38 SPL+P 6
23. JAGEMANN 380 4
24. HORNADY 380 3
25. FIOCCHI 380 9
26. MONARCH 12-gauge 5
27. PPU 380 2
28. WINCHESTER 380 8
29, FEDERAL 380 3
30. CBC , 380 2
31. PERFECTA 380 1
-32.8&B 380 5
33.RWS 380 1
34, PMC 380 “4
35. REMINGTON 380 2
36. GFL 380 1
37, BLAZER 380 1
38. DRT 380 1

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This Notice of Demand for Forfeiture further includes, but is not limited to, any and all
firearms, ammunition, and/or accessories involved in or used in the commission of the criminal
offense.

1
_ ORIGINAL SIGNATURE
, REDACTED PURSUANT TO-
. E-GOVERNMENT ACT OF 2002

JOHN F. BASH

UNITED STATES ATTORNEY

BY: Ahasm b. Parr
SHARON S. PIERCE
Assistant United States Attorney

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